
GRE)E)N, J.
As the bill does not state. *350that a discovery from Hume or from Davis and wife, was necessary to enable Norris to establish the facts relied on in his bill, as the ground of relief, the question does not arise, Whether such a suggestion, well founded, would give jurisdiction to a court of equity, after a trial at law upon issues involving those very facts? That is a question, therefore, which it is not neces.-sary now to discuss: if it were, I should strongly incline to concur in the views taken of it by my brother Carr, in Faulkner’s adm’rx v. Harwood, 6 Rand. 125. The present case is nothing more or less than an appeal from the judgment of a court of law, to a court of chancery for a new trial there of the same issues that had been tried at law, without any suggestion of fraud, accident, mistake, or any other circumstance, which prevented the party from making his defence at law, upon exactly the'same proofs which he now exhibits in chancery. Upon this ground, I am of opinion, that the chancellor’s decree ought to be affirmed.
The other judges concurred.
Decree affirmed.
